Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 1 of 42




                             Exhibit
                                       3
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 2 of 42




      December 8, 2020

      VIA EMAIL: hello@vestahome.com
      Showroom Interiors LLC dba Vesta
      4900 E 50th Street
      Vernon, CA 90058

      Re: Affordable Aerial Photography, Inc. v. Showroom Interiors LLC dba Vesta
          Our File No.: 00022-0103


      Dear Sir or Madam,

      We are a law firm making a claim on behalf of our client. We know that this is
      reaching you during a difficult and trying time and that you may have more pressing
      concerns. We appreciate that responding to this letter may not be your first
      priority. However, we must receive a response from you so that we know that you are
      taking this matter seriously, even if you need more time to hire a lawyer or report this
      claim to your insurance carrier. If we hear from you then we can work with you to
      understand your position and resolve our client’s claim. Please respond to us.

      We write on behalf of our client Affordable Aerial Photography, Inc., a photograph
      licensing agent, for purposes of resolving a case of copyright infringement against you
      by our client. This demand is privileged from disclosure pursuant to FRE Rule 408.

      Please provide this letter to your general liability insurance carriers or other providers of
      insurance that may cover this claim.

      Affordable Aerial Photography, Inc. (“AAP”)
      Robert Stevens, owner of Affordable Aerial Photography, Inc., is a high-end real estate
      photographer who makes his living photographing million dollar homes for real estate
      agents. Stevens is an employee of his company, AAP, which provides photo shoots to a
      client’s specifications. Stevens is self-taught, but his photographs rival those taken by
      photographers who charge thousands more. AAP licenses its photos to agents pursuant
      to a written license. The license is granted only to the agent for whom the photos were
      taken.

      AAP retains all copyrights to its photographs. AAP licenses its copyrighted Works, such
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 3 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 2


      as the ones in this case, for commercial use.

      AAP created the images, hereinafter referred to as the “Works.”

      The Works at issue are shown below.
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 4 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 3
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 5 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 4
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 6 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 5
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 7 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 6
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 8 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 7
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 9 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 8
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 10 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 9
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 11 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 10
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 12 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 11
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 13 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 12
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 14 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 13
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 15 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 14
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 16 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 15
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 17 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 16
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 18 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 17




      AAP registered the Works with the Register of Copyrights on September 29, 2020 and
      was assigned the registration numbers VA 2-222-311, copies of which are enclosed.

      Infringement by Showroom Interiors LLC dba Vesta (“Vesta”)
      We have enclosed contemporaneous evidence of the infringement by Vesta. You have
      employed our client's Works in at least the manner indicated in the evidence attached.
      You are fully aware that the Works you used are our client's Works. No one from your
      company ever sought a license from our client to use the Works for any purpose.

      You have copied, displayed and distributed our client's Works without permission,
      license or consent. The use of a creator's photographic image without written consent or
      license violates the United States Code, Title 17, and The Copyright Act. The Copyright
      Act provides for entry of an injunction directing removal of the offending materials
      pending litigation. This letter shall serve as formal notice that you immediately cease
      and desist all unauthorized uses of our client's Works. Any such further uses shall be at
      your peril.

      If you possess a contract, license, agreement or writing on which you will rely for
      authorization of your use of our client's Works, please provide us with this evidence so
      we may avoid further controversy or litigation. Otherwise, we will be forced to assume
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 19 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 18


      that your use violated the law.

      Damages
      Copyright law provides several different elements of compensation to AAP when a
      work is infringed or altered. Section 504 permits AAP to recover actual damages plus
      “any additional profits of the infringer that are attributable to the infringement and are
      not taken into account in computing the actual damages,” or statutory damages of up to
      $150,000 per work infringed if the registration predated the infringement. AAP can
      present both damages theories to the jury and select the higher award any time prior to
      entry of judgment.

      Academic studies have demonstrated that the use of good quality photographs more
      effectively market and advertise products and drive sales. AAP’s photographs are of the
      highest quality. AAP’s photographs are also scarce since it is one of the only sources of
      such quality photographs.

      AAP’s damages are not limited to what it would have agreed to license the Works for
      prior to the infringement. Rather, AAP’s actual damages will be measured by the fair
      market value of the photograph considering Vesta’s use to sell and promote its business.
      AAP’s actual damages must be measured in light of Vesta’s use of AAP’s high quality
      and unique Works.

      This is consistent with federal courts’ approach to broadly construing the term “actual
      damages” to favor victims of infringement. See, e.g., Davis v. Gap, Inc., 246 F.3d 152, 164
      (2d Cir. 2001). The fair market value approach for calculating damages is an accepted
      approach to valuing the defendants’ uses of photographs. See Leonard v. Stemtech Int'l,
      Inc., Nos. 15-3198, 15-3247, 2016 U.S. App. LEXIS 15565 (3d Cir. Aug. 24, 2016). In
      addition, AAP can offer evidence of the actual cost to take the photograph infringed on a
      time and materials basis.

      Section 504 of the Copyright Act permits AAP to recover actual damages plus “any
      additional profits of the infringer that are attributable to the infringement and are not
      taken into account in computing the actual damages.” Therefore, AAP will also be
      entitled to Vesta’s profits from the infringement, based upon the revenue Vesta earned
      in connection with the use of AAP’s Works.

      Alternatively, AAP could seek statutory damages for infringement in an amount of up
      to $30,000 per work infringed if the registration predated the infringement. There is also
      the possibility that a judge or jury could determine that Vesta’s infringement was
      willful. If Vesta’s infringement was shown to be willful, the statutory damage award
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 20 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 19


      would increase to an amount up to $150,000 per work infringed.

      Demand
      In order to determine how to proceed, please provide us with information and
      documents showing:

       1.    the full nature and extent of the use of our client's Works, in any and all formats;

       2.    representative copies in any and all tangible form and media in which our
             client's Works were incorporated or employed; and

       3.    the source of the Works.

      Upon receipt of this information, we will consider and determine an appropriate
      amount required to be paid to our client in compensation.

      Please carefully consider this letter and the associated exhibits and provide them to your
      attorneys and insurance carriers. If we do not receive a response from you or a
      representative by December 22, 2020, we will take further steps to protect our client’s
      rights. We look forward to your prompt response.

      Sincerely,

      SRIPLAW




      Jonah A. Grossbardt

      JAG/tsu
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 21 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 22 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 23 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 24 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 25 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 26 of 42



  URL             https://vestahome.com/projects/2020/8/28/palm-beach-transitional-tillinghast
  Date captured   December 8th 2020, 2:20:59PM
  Last updated    December 8th 2020, 2:20:59PM
  Hash            d7406e1210d7588d33863107c4a07971909baf77a31c610118296c715306e6f0
   Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 27 of 42

                          I N TERI O R D ES I G N / TU RN K EY S TAY / S TA G I N G / M U LTI FA M I LY / O U R H O M ES / S H O P / CO N TA CT




Palm Beach Gardens | Tillinghast
13,523 SqFt | Transitional




Vesta Furniture Featured in this Project




              Alta Lounge Chair                                            Firenze Lounge Chair                                               Nora Dining Chair
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 28 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 29 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 30 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 31 of 42
 Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 32 of 42




Interior Design, South Florida, Palm Beach, Staging: Residential, Celebrity                                                                                          0 Likes         Share
Transitional




 Costal Connecticut | Colonial Rd                                                                                                           Atherton Transitional | Tuscaloosa ...




                      COMP ANY                                                            SERVICES


                      ABOUT US                                                       INTERIOR DESIGN


                   TESTIMONIALS                                                        TURNKEY STAY
                                                                                                                             Los Angeles | San Francisco | South Florida | Tri-State Area
                 VESTA FINANCING                                                          STAGING
                                                                                                                                                      VESTA
               PROFESSIONAL PROGRAM                                                     MULTIFAMILY                                    4900 E 50th Street Vernon, CA 90058
                                                                                                                                                   (323) 348-1551
                         BLOG                                                               SHOP                                               hello@vestahome.com


                        PRESS                                                            OUR HOMES


                       CAREERS


                      CONTACT




                                                                      © Copyright 2020 Vesta. All Rights Reserved. Sitemap
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 33 of 42



  URL             https://vestahome.com/best-of-vesta/2020/9/21/tiger-woods-ex-wife-buys-palm-bea
                  ch-gardens-home
  Date captured   December 8th 2020, 2:22:27PM
  Last updated    December 8th 2020, 2:22:27PM
  Hash            8fbba9d064d36a638826da9c886aea24983a93c6c7250a39c632ae2461976bc8
  Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 34 of 42




I N TERI O R D ES I G N / TU RN K EY S TAY / S TA G I N G / M U LTI FA M I LY / O U R H O M ES / S H O P / CO N TA CT




The Best of Vesta
Insights into what’s happening in the world of elevated design.


Tiger Woods’ ex-wife buys Palm Beach Gardens home
Swedish model Elin Nordegren, ex-wife of golfer Tiger Woods, found a new home in Palm Beach
Gardens. Vesta’s design team was proud to have worked on this beautiful project in Palm Beach
Gardens. Read more in South Florida Real Estate News or view more of Vesta’s Tillinghast Project.
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 35 of 42




Press                                                                        0 Likes          Share




 Lessons From Listings Photos: See ...                        Derek Schreiber & Gillian ...




           COMP ANY                         SERVICES


           ABOUT US                      INTERIOR DESIGN


         TESTIMONIALS                    TURNKEY STAY
                                                           Los Angeles | San Francisco | South
        VESTA FINANCING                     STAGING              Florida | Tri-State Area


 PROFESSIONAL PROGRAM                     MULTIFAMILY                    VESTA
                                                           4900 E 50th Street Vernon, CA 90058
             BLOG                             SHOP                   (323) 348-1551
                                                                 hello@vestahome.com
            PRESS                          OUR HOMES


           CAREERS


           CONTACT
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 36 of 42

                       © Copyright 2020 Vesta. All Rights Reserved. Sitemap
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 37 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 38 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 39 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 40 of 42
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 41 of 42




      December 8, 2020

      VIA EMAIL: hello@vestahome.com
      Showroom Interiors LLC dba Vesta
      4900 E 50th Street
      Vernon, CA 90058

      Re: Affordable Aerial Photography, Inc. v. Showroom Interiors LLC dba Vesta
          Our File No.: 00022-0103


      Dear Sir or Madam,

      We write pursuant to California law to demand a response with insurance information
      for each known policy of liability insurance you may have that may provide coverage
      for all or a portion of our client’s claims in this matter. Please give this letter to your
      insurance carriers and ask them to respond to us directly.

      California law states “A party may obtain discovery of the existence and contents of any
      agreement under which any insurance carrier may be liable to satisfy in whole or in part
      a judgment that may be entered in the action or to indemnify or reimburse for payments
      made to satisfy the judgment. This discovery may include the identity of the carrier and
      the nature and limits of the coverage...” Code Civ. Proc. § 2017.210. A liability carrier
      must promptly release policy limits information in response to such a request. See
      Boicourt v. Amex Assurance Co. 78 Cal.App.4th 1390, 1397 (2000).

      Upon receipt, please provide us with the following information:

         (a) The name of the insurer;

         (b) The name of each insured;

         (c) The limits of the liability coverage;

         (d) A statement of any policy or coverage defense which such insurer reasonably
             believes is available to such insurers at the time of filing such statement; and

         (e) A copy of the policy.
Case 9:21-cv-81777-AMC Document 1-3 Entered on FLSD Docket 09/20/2021 Page 42 of 42


      Showroom Interiors LLC dba Vesta
      December 8, 2020
      Page 2


      Thank you in advance for your anticipated cooperation.


      Sincerely,

      SRIPLAW




      Jonah A. Grossbardt

      JAG/tsu
